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 9                          UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11                              SAN FRANCISCO DIVISION
12

13   IN RE: CATHODE RAY TUBE (CRT)           Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________    MDL No. 1917
     This Document Relates to:
15                                           REVISED [PROPOSED] ORDER
                                             APPROVING CLAIM FORM AND
16   ALL DIRECT PURCHASER ACTIONS            DIRECTING NOTICE TO CLASS
                                             MEMBERS REGARDING DISTRIBUTION
17                                           OF SETTLEMENT FUND
18                                           Judge: Honorable Samuel Conti
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     REVISED [PROPOSED] ORDER APPROVING CLAIM FORM AND DIRECTING NOTICE TO CLASS
     MEMBERS REGARDING DISTRIBUTION OF SETTLEMENT FUND—CV-07-5944-SC
       Case 3:07-cv-05944-JST Document 3934 Filed 07/22/15 Page 2 of 10




 1          Direct Purchaser Plaintiffs’ (“Plaintiffs”) request for approval of the Notice Regarding

 2   Claims and the Proof of Claim form was presented to and considered by the Court. This Court

 3   retains jurisdiction over the class action settlements for matters relating to “implementation of [ ]

 4   settlement[s] and any distribution to Class Members pursuant to further orders of this Court [and]

 5   disposition of the Settlement Fund.” See, e.g., Final Judgment of Dismissal With Prejudice as to

 6   Defendants Toshiba Corporation; Toshiba America Information Systems, Inc.; Toshiba America

 7   Consumer Products LLC; and Toshiba America Electronic Components, Inc. ¶ 10 (July 23, 2013)

 8   (Dkt. No. 1792).

 9          Having considered the proposed Notice Regarding Claims and Proof of Claim form, the

10   Court grants the request. The Notice Regarding Claims and Proof of Claim form attached hereto as

11   Exhibit A is appropriate. On or before September 11, 2015, Gilardi & Co. LLC (“Gilardi”), as

12   Claims Administrator, will disseminate the Notice Regarding Claims and the Proof of Claim form

13   to those members of the Class who can reasonably be contacted through electronic or direct mail.

14   The Notice Regarding Claims, in substantially similar form, shall also be published on or before

15   September 11, 2015 in the Wall Street Journal. When dissemination of notice is completed, Class

16   Counsel shall cause a declaration to be filed reflecting that the Notice Regarding Claims has been

17   provided in accordance with this Order. Class members shall have approximately ninety (90) days

18   from mailing of notice to complete the Proof of Claim form and submit it to the Claims

19   Administrator Gilardi. In order to provide certainty, the last date for class members to submit their

20   Proof of Claim form to the Claims Administrator shall be December 10, 2015.

21          Upon completion of submission of all Proof of Claim forms within the period set by the

22   Court, Gilardi will analyze and verify the claims submissions and follow up with claimants to

23   resolve any discrepancies. At that time, final distribution amounts will be determined and Plaintiffs

24   will submit to the Court an order approving distribution of the Settlement Fund to class members.

25          All valid claims will be distributed in accordance with the plan of allocation that this Court

26   has previously approved, i.e., a pro rata distribution to Claimants based on direct purchases of

27   CRTs and Finished Products from the named defendants as described in the orders granting final

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                                                        1
     REVISED [PROPOSED] ORDER APPROVING CLAIM FORM AND DIRECTING NOTICE TO CLASS
     MEMBERS REGARDING DISTRIBUTION OF SETTLEMENT FUND—CV-07-5944-SC
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 1   approval of the settlements and approving the plan of distribution.

 2          Plaintiffs shall file their Motion for Attorneys’ Fees and Costs on or before September 11,

 3   2015. A hearing on Plaintiffs’ Motion for Attorneys Fees and Costs is set for October 23, 2015 at

 4   10:00 a.m. in Courtroom 1. In addition, any class member wishing to comment or object to

 5   plaintiffs’ Motion for Attorneys’ Fees and Costs may do so by filing with the Court any comments

 6   or objections on or before October 2, 2015.

 7          The Court retains exclusive jurisdiction over this action to consider all further matters

 8   arising out of or connected with the disbursement of the Settlement Funds.

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10          IT IS SO ORDERED.

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12           July 22, 2015
     Dated: _____________________                          ________________________________
13                                                         Hon. Samuel Conti
                                                           United States District Judge
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     REVISED [PROPOSED] ORDER APPROVING CLAIM FORM AND DIRECTING NOTICE TO CLASS
     MEMBERS REGARDING DISTRIBUTION OF SETTLEMENT FUND—CV-07-5944-SC
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           EXHIBIT A
        Case 3:07-cv-05944-JST Document 3934 Filed 07/22/15 Page 5 of 10



    UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

            If You Directly Bought A Cathode Ray Tube Product,

                   A Class Action Settlement May Affect You.
    Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
           contain a Cathode Ray Tube such as Televisions and Computer Monitors.

         A Federal Court authorized this Notice. This is not a solicitation from a lawyer.


•   Why did I get this notice? You or your company may have directly purchased a cathode
    ray tube (CRT) or a product containing a cathode ray tube (television or monitor) between
    March 1, 1995 and November 25, 2007. A direct purchaser is a person or business who
    bought a CRT, or a television or computer monitor containing a CRT, directly from one or
    more of the Defendants, co-conspirators, affiliates, or subsidiaries. A direct purchaser is
    NOT a person or company who purchased a CRT or CRT Product from a wholesaler or a
    retail store. If you are a direct purchaser, you have the right to know about the litigation and
    about your legal rights and options. The Court in charge of the case is the United States
    District Court for the Northern District of California, and the case is called In re Cathode Ray
    Tube (CRT) Antitrust Litigation, MDL No. 1917. The people who sued are called Plaintiffs
    and the companies they sued are called Defendants.

•   All Defendants who have appeared to date in the Direct Purchaser Cathode Ray Tube
    (CRT) Antitrust Litigation, Case No. 3:07-cv-5944 SC have settled their claims. The Court
    has finally approved each of the settlements with the Defendants and the settlement
    proceeds are ready to be distributed to qualifying claimants. Attached to this Notice is a
    Proof of Claim form that has been approved by the Court. All Proof of Claim forms must be
    postmarked or sent via electronic mail no later than December 10, 2015 to the address set
    forth in the Proof of Claim form. Additional Proof of Claim forms may be obtained at
    www.CRTDirectPurchaserAntitrustSettlement.com, by calling 1-877-224-3063, or writing
    to CRT Direct Settlement, P.O. Box 808003, Petaluma, CA 94975. Please do not contact
    the Court about claim administration.

•   Plaintiffs Motion for Attorneys Fees and Costs is on file with the Court and available at
    www.CRTDirectPurchaserAntitrustSettlement.com. The Court has set a hearing on
    plaintiffs’ motion for October 23, 2015 at 10:00 a.m. in Courtroom 1. Any comments or
    objections to Plaintiffs Motion for Attorneys’ Fees and Costs must be filed with the Court
    (Honorable Samuel Conti, United States District Court Northern District of California, 450
    Golden Gate Avenue, Courtroom 3, 17th floor, San Francisco, CA 94102) no later than
    October 2, 2015.



Dated: _________________                                             BY ORDER OF THE COURT




                        For More Information: Call 1-877-224-3063 or Visit
                        www.CRTDirectPurchaserAntitrustSettlement.com
                                                 1
                       Case 3:07-cv-05944-JST Document 3934 Filed 07/22/15 Page 6 of 10

      Must Be Postmarked or                               PROOF OF CLAIM                                    For Official Use Only
            E-Mailed                                                                                                   01
          No Later Than                             In Re: Cathode Ray Tube (CRT)
       December 10, 2015
                                                           Antitrust Litigation
                                                         Case No. 3:07-cv-05944 SC


                                                                                    Please check the box if the name or address
        «*BARCODE*»                                                                  is different from information on left and
                                                                                      complete below:
        «name1»
        «name2»
        «name3»
        «addr1»
        «addr2»
        «city», «state» «zip5»
        «country_name»


                                                     PART 1: CLAIMANT INFORMATION
    Please type or neatly print all information.
    Telephone Number:                                                Foreign Code Telephone Number (International):


    Email Address:


    Person to contact if there are questions regarding this claim:




                                                    PART 2: IMPORTANT INFORMATION
                                                         GENERAL INSTRUCTIONS
           This Proof of Claim form must be completed and returned by Class members who seek payment from the Settlements.
    It must be postmarked or sent via electronic mail no later than December 10, 2015. If you fail to mail a timely, properly
    addressed Proof of Claim form, your claim may be rejected and you may be precluded from any recovery from the Settlements.
    Completed Proof of Claim forms should be mailed to the Claims Administrator at:
                                              In re Cathode Ray Tube (CRT) Antitrust Litigation
                                                             Gilardi & Co. LLC
                                                              P.O. Box XXXX
                                                            Petaluma, CA 94975
                                                   or submit a completed Claim Form Online:
                                            claims@CRTDirectPurchaserAntitrustSettlement.com
            All inquiries regarding your claim should be made in writing to the Claims Administrator at the address above.
            Members of the Class who did not timely and validly seek exclusion from the Settlement Class will be bound by the
    judgment entered approving these Settlements as to Defendants and the Releasees regardless of whether they submit a Proof
    of Claim form.




                                CLAIM FORMS MAY BE FILED ON-LINE AT www.CRTDirectPurchaserAntitrustSettlement.com

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                       Case 3:07-cv-05944-JST Document 3934 Filed 07/22/15 Page 7 of 10
                                                                  DEFINITIONS
            A)        “Class Period” means March 1, 1995 through November 25, 2007.
            B)        “Defendant” or “Defendants” means the following entities which are named as Defendants in this action:
             LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics Taiwan Taipei Co., Ltd., Koninklijke Philips Electronics
             N.V., Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips Consumer
             Electronics Co., Philips da Amazonia Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG. Philips
             Displays, Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI
             America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin
             Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd., Toshiba Corporation, Toshiba America Consumer
             Products, Inc., Toshiba Display Devices (Thailand) Company, Ltd., Toshiba America Information Systems, Inc.,
             Toshiba America, Inc., Toshiba America Electronic Components, Inc., Panasonic Corporation f/k/a Matsushita Electric
             Industrial, Ltd., Matsushita Electronic Corporation (Malaysia) Sdn. Bhd., Panasonic Corporation of North America,
             Panasonic Consumer Electronics Co., MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd.
             (BMCC), Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi Electronic Devices (USA), Inc., Hitachi
             America, Ltd., Hitachi Asia, Ltd., Shenzhen SEG Hitachi Color Display Devices, Ltd., Samtel Color, Ltd., Tatung
             Company of America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO
             Group Corporation, IRICO Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd.,
             Daewoo Electronics Corporation f/k/a Daewoo Electronics Company, Ltd., and Daewoo International Corporation.
                      “Co-Conspirator” or “Co-Conspirators” means Mitsubishi Electric Corporation; Mitsubishi Electric US, Inc. (f/k/a
             Mitsubishi Electric & Electronics USA, Inc.); Mitsubishi Electric Visual Solutions America, Inc. (f/k/a Mitsubishi Digital
             Electronics America, Inc.); Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.); Technicolor SA (f/k/a
             Thomson SA); Videocon Industries, Ltd.; and Technologies Displays Americas LLC (f/k/a Thomson Displays Americas
             LLC).
            C)      "Class" means all persons and entities who, between March 1, 1995 and November 25, 2007, directly
    purchased a CRT Product in the United States from any defendant or subsidiary or affiliate thereof, or any co-conspirator.
    (“Settlement Class”).
           D)       "Releasees" shall refer jointly and severally, individually and collectively to all defendants listed above and their
    respective past and present parents, subsidiaries, affiliates, officers, directors, employees, agents, attorneys, servants,
    representatives (and the parents', subsidiaries', and affiliates' past and present officers, directors, employees, agents,
    attorneys, servants, and representatives), and the predecessors, successors, heirs, executors, administrators, and assigns of
    each of the foregoing.
            E)       “Cathode Ray Tube Products” means Cathode Ray Tube Products of any type (e.g. color display tubes and
    color picture tubes) and finished products which contain Cathode Ray Tubes, such as Televisions and Computer Monitors.
            F)       “Class Members” means all members of the Class who did not timely and validly elect to be excluded from the
    Class certified by the Court.

                                           PART 3: SCHEDULE OF QUALIFYING PURCHASES
         Report separately purchases of Cathode Ray Tubes and Finished Products containing Cathode Ray Tubes (“CRT Finished Products”)
    made directly from any Defendant or Co-Conspirator (listed in Sections A, B, and C below) from March 1, 1995 through November 25, 2007.
    Cathode Ray Tubes can be either Color Picture Tubes “CPTs” or Color Display Tubes “CDTs” collectively referred to as “CRTs.” CRT
    Finished Products are electronic devices containing CPTs (televisions) or CDTs (computer monitors). In order to qualify as a claim, your
    purchase(s) must have been billed to and/or shipped to a location in the United States. Foreign transactions where billing and
    shipping took place outside of the U.S. do not qualify. If you have submitted a request for exclusion from the Settlement Class in
    connection with settlements, do not submit this Claim Form. Also, if you entered into a settlement with any defendant or Co-
    Conspirator for your purchase(s) from that defendant or Co-Conspirator, or assigned or transferred your claim for any
    purchase(s), your Claim Form must not include, as part of your claim, any of those purchases. For example, if Class member A
    purchased $10,000 from defendant 1 and entered into a settlement with defendant 1 for those purchases, that $10,000 must not be included
    as part of Class member A’s claim. Failure to include all purchases will reduce the amount of your payment. You DO NOT need to attach
    documentation. However, you must keep copies of your purchase order(s), invoice(s), or other documentation of your purchase(s) in case
    verification of your claim is necessary.
         In Sections A, B, and C below, list the total dollar amount (in U.S. dollars) of your purchases of Cathode Ray Tubes and/or CRT
    Finished Products made directly from each Defendant or Co-Conspirator from March 1, 1995 through November 25, 2007. Amounts
    should be rounded to the nearest dollar. (Example: $12,345.67 should be entered as $12,346.) Do not include transportation charges,
    rebates, refunds, credits, etc. If you did not purchase Cathode Ray Tubes or Cathode Ray Tube Products from a Defendant or Co-
    Conspirator, or if you settled with a particular Defendant or Co-Conspirator, assigned or transferred your claim, write “No Purchases” in the
    corresponding Defendant or Co-Conspirator box below.


                                CLAIM FORMS MAY BE FILED ON-LINE AT www.CRTDirectPurchaserAntitrustSettlement.com

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                 Case 3:07-cv-05944-JST Document 3934 Filed 07/22/15 Page 8 of 10
    SECTION A – Complete this Section ONLY if you directly purchased a CATHODE RAY TUBE from March 1, 1995
              through November 25, 2007 from one of the entities listed below:
        Chunghwa 1                                                      $                      ,                     ,
        Daewoo           2
                                                                        $                      ,                     ,
        Hitachi      3
                                                                        $                      ,                     ,
        Irico    4
                                                                        $                      ,                     ,
        LG   5
                                                                        $                      ,                     ,
        LPD      6
                                                                        $                      ,                     ,
        Panasonic                7
                                                                        $                      ,                     ,
        Philips      8
                                                                        $                      ,                     ,
        Samsung              9
                                                                        $                      ,                     ,
        Samtel       10
                                                                        $                      ,                     ,
        Tatung       11
                                                                        $                      ,                     ,
        Thai CRT             12
                                                                        $                      ,                     ,
        Toshiba          13
                                                                        $                      ,                     ,
        Mitsubishi            14
                                                                        $                      ,                     ,
        Thomson              15
                                                                        $                      ,                     ,




    1
      “Chunghwa” means Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
    2
      “Daewoo” means Daewoo International Corporation and Daewoo Electronics Corporation f/k/a Daewoo Electronics Company, Ltd.
    3
      “Hitachi” means Hitachi Ltd., Hitachi Displays, Ltd., Hitachi America, Ltd., Hitachi Asia, Ltd., Hitachi Electronics Devices (USA),
    and Shenzhen SEG Hitachi Color Display Devices, Ltd.
    4
      “Irico” means Irico Group Corporation, Irico Group Electronics Co., Ltd., and Irico Display Devices Co., Ltd.
    5
      “LG” means LG Electronics, Inc., LG Electronics USA, Inc., and LG Electronics Taiwan Taipei Co., Ltd.
    6
      “LPD” means LP Displays International, Ltd.
    7
      “Panasonic” means Panasonic Corporation, f/k/a Matsushita Electric Industrial Co., Ltd., Matsushita Electronic Corporation
    (Malaysia) Sdn Bhd., Panasonic Corporation of North America, Panasonic Consumer Electronics Co.; MT Picture Display Co., Ltd.,
    f/k/a Matsushita Toshiba Picture Display Co., Ltd.; and Beijing-Matsushita Color CRT Company, Ltd.
    8
      “Philips” means Koninklijke Philips Electronics N.V.; Philips Electronics North America Corp.; Philips Electronics Industries
    (Taiwan), Ltd.; Philips da Amazonia Industria Electronica Ltda.; Philips Electronics Industries Ltd.; and Philips Consumer Electronics
    Co.
    9
      “Samsung” means Samsung SDI (Malaysia) Sdn Bhd.; Samsung SDI Co., Ltd. f/k/a Samsung Display Device Company; Samsung
    SDI America, Inc.; Samsung SDI Mexico S.A. de C.V.; Samsung SDI Brasil Ltda.; Shenzhen Samsung SDI Co. Ltd.; Tianjin Samsung
    SDI Co., Ltd.; Samsung Electronics Co., Ltd.; and Samsung Electronics America, Inc.
    10
       “Samtel” means Samtel Color, Ltd.
    11
       “Tatung” means Tatung Company of America, Inc.
    12
       “Thai CRT” means Thai CRT Company, Ltd.
    13
       “Toshiba” means Toshiba Corporation; Toshiba America Consumer Products LLC; Toshiba America Electronic Components, Inc.;
    Toshiba America Information Systems, Inc.; Toshiba America, Inc.; Toshiba America Consumer Products, Inc.; and Toshiba Display
    Devices (Thailand) Company, Ltd.
    14
       “Mitsubishi” means Mitsubishi Electric Corporation; Mitsubishi Electric US, Inc. (f/k/a Mitsubishi Electric & Electronics USA,
    Inc.); Mitsubishi Electric Visual Solutions America, Inc. (f/k/a Mitsubishi Digital Electronics America, Inc.)
    15
       “Thomson” means Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.); Technicolor SA (f/k/a Thomson SA);
    Videocon Industries, Ltd.; and Technologies Displays Americas LLC (f/k/a Thomson Displays Americas LLC)


                                     CLAIM FORMS MAY BE FILED ON-LINE AT www.CRTDirectPurchaserAntitrustSettlement.com

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    SECTION B - Complete this Section ONLY if you directly purchased a TELEVISION containing a Cathode Ray Tube
               from March 1, 1995 through November 25, 2007 from one of the entities listed below:
     Chunghwa                                             $                  ,                 ,
     Daewoo                                               $                  ,                 ,
     Hitachi                                              $                  ,                 ,
     Irico                                                $                  ,                 ,
     LG                                                   $                  ,                 ,
     LPD                                                  $                  ,                 ,
     Panasonic                                            $                  ,                 ,
     Philips                                              $                  ,                 ,
     Samsung                                              $                  ,                 ,
     Samtel                                               $                  ,                 ,
     Tatung                                               $                  ,                 ,
     Thai CRT                                             $                  ,                 ,
     Toshiba                                              $                  ,                 ,
     Mitsubishi                                           $                  ,                 ,
     Thomson                                              $                  ,                 ,



    SECTION C - Complete this Section ONLY if you directly purchased a COMPUTER MONITOR containing a Cathode
               Ray Tube from March 1, 1995 through November 25, 2007 from one of the entities listed below:
     Chunghwa                                             $                  ,                 ,
     Daewoo                                               $                  ,                 ,
     Hitachi                                              $                  ,                 ,
     Irico                                                $                  ,                 ,
     LG                                                   $                  ,                 ,
     LPD                                                  $                  ,                 ,
     Panasonic                                            $                  ,                 ,
     Philips                                              $                  ,                 ,
     Samsung                                              $                  ,                 ,
     Samtel                                               $                  ,                 ,
     Tatung                                               $                  ,                 ,
     Thai CRT                                             $                  ,                 ,
     Toshiba                                              $                  ,                 ,
     Mitsubishi                                           $                  ,                 ,
     Thomson                                              $                  ,                 ,




                         CLAIM FORMS MAY BE FILED ON-LINE AT www.CRTDirectPurchaserAntitrustSettlement.com

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                                   PART 4: SUBMISSION TO JURISDICTION OF THE DISTRICT COURT
    By signing below, you are verifying that:
          1. You have documentation to support your claim and agree to provide additional information to Class Counsel or the Claims Administrator
    to support your claim if necessary;
          2. You have not assigned or transferred (or purported to assign or transfer) or settled for the same purchases or submitted any other claim
    for the same purchases of CRT Products and have not authorized any other person or entity to do so, and know of no other person or entity having
    done so on your behalf;
          3. The information provided in this Claim Form is accurate and complete; and
          4. You agree to submit to the jurisdiction of the District Court for the Northern District of California, where this action is pending, for purposes
    of resolving any issues related to or arising from your claim.
                                                                PART 5: CERTIFICATION
        I (We) certify that I am (we are) NOT subject to backup withholding under the provisions of Section 3406 (a)(1)(c) of the Internal Revenue
    Code because: (a) I am (We are) exempt from backup withholding, or (b) I (We) have not been notified by the I.R.S. that I am (we are) subject to
    backup withholding as a result of a failure to report all interest or dividends, or (c) the I.R.S. has notified me (us) that I am (we are) no longer
    subject to backup withholding.
        NOTE: If you have been notified by the I.R.S. that you are subject to backup withholding, please strike out the language that you are not
    subject to backup withholding in the certification above.
        I (WE) DECLARE, UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF AMERICA, THAT THE
    INFORMATION PROVIDED IN THIS PROOF OF CLAIM FORM IS TRUE AND CORRECT.

    This certification was executed on the                        of                                      , 2015, in                                         .
                                                       (day)               (Month)                                             (City/State/Country)
    SIGNATURE OF CLAIMANT: (If this claim is being made on behalf of Joint Claimants, then each must sign.)
    Signature:                                                             Type/Print Name:


    Company’s Name:                                                                   Capacity of person signing; e.g. President:



    Mail the completed Claim Form to:
                                                 In re Cathode Ray Tube (CRT) Antitrust Litigation
                                                                Gilardi & Co. LLC
                                                                 P.O. Box XXXX
                                                               Petaluma, CA 94975
                                      or email it to: claims@CRTDirectPurchaserAntitrustSettlement.com


                                  ACCURATE PROCESSING OF CLAIMS MAY TAKE SIGNIFICANT TIME.
                                         THANK YOU, IN ADVANCE, FOR YOUR PATIENCE.




                                  CLAIM FORMS MAY BE FILED ON-LINE AT www.CRTDirectPurchaserAntitrustSettlement.com

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